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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW HAMPSHIRE

UNITED STATES OF AMERICA                     )
                                             )
       v.                                    )
                                             )       No. 22-cr-46-SE
SUNNA SEPETU, et al.                         )
                                             )

     UNITED STATES’ OBJECTION TO DEFENDANT QUAYE’S MOTION TO SEVER

I.     INTRODUCTION.

       Defendants Nafis Quaye, Sunna Sepetu and Stella Osabutey are charged with conspiring

to launder wire fraud proceeds obtained by Defendant Sanuel Ansah and others through shell

companies under their control. The government alleges that these companies received victim

fraud proceeds that in many cases were then transferred to other companies or entities, often in

Africa, concealing the destination of the funds from the victims. Quaye, Sepetu and Osabutey

are charged in one indictment alleging a single conspiracy count against them. See Fed. R. Crim.

P. 8(b). Defendant Quaye has now moved to server his trial from Defendants Sepetu and

Osabutey. 1 See Fed. Crim. P. 14(a).

       Quaye offers two grounds for severance. First, he asserts that severance is required

because one or both of the co-defendants may offer a defense that is antagonistic to his lack of

“mens rea” defense. Second, he says that the Court should order severance to avoid a Bruton

problem based on the government’s representation that it may introduce a statement by Sepetu to

law enforcement that Quaye is the one with “knowledge about the business” [because] he is the

“one who sets up the sales and knows the purchasers.”



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               Of note, defendants Sepetu and Osabutey have both indicated they take no
position on the motion to sever. Dkt. Nos. 53, 54.
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       Neither ground provides a basis for severance. Other than Quaye’s unsupported

supposition that one of the co-defendants will testify and point the finger at him, there is no

evidence of antagonistic defenses. There is no inherent antagonism between Quaye’s defense

that he did not have the “mens rea” for the crime and a defense by the co-defendants that they

were only tangentially involved in the businesses at issue and therefore not involved in the

suspect transactions. Moreover, the statement highlighted by Quaye does not trigger Bruton. The

statement is not on its face incriminating and can be modified to remove any mention of Quaye.

That step, combined with a limiting instruction informing the jury that Sepetu’s statement cannot

be considered against Quaye, would alleviate any potential prejudice that would justify

severance. The motion to sever should be denied.

II.    THERE IS NO BASIS FOR SEVERANCE ON THE GROUND OF
       POTENTIALLY ANTAGNOSTIC DEFENSES.

       Where, as here, the defendants are charged with conspiracy “severance is especially

disfavored because joint trials promote efficiency” and “help to avoid inconsistent verdicts.”

United States v. Tiem Trinh, 665 F.3d 1, 17 (1st Cir. 2011). This Court should grant severance

only if there is “a serious risk that a joint trial would compromise a specific trial right of one of

the defendants or prevent the jury from making a reliable judgment about guilt or innocence.”

United States v. Celestin, 612 F.3d 14, 19 (1st Cir. 2010).

       “In order to gain a severance based on antagonistic defenses, the defenses must be such

that if the jury believes one defendant, it is compelled to convict the other defendant.” United

States v. Pena-Lora, 225 F.3d 17, 33 (1st Cir. 2000). Otherwise stated, “the tension between

defenses must be so great that a jury would have to believe one defendant at the expense of the

other.” United States v. Floyd, 740 F.3d 22, 36 (1st Cir. 2014). For this reason, “defenses are not

antagonistic merely because they are not congruent.” Id.

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        At this point, the most that the evidence shows is that Quaye and Sepetu may offer

defenses that are not congruent. According to his motion, Quaye intends to offer a defense that

will “focus on his mens rea.” In other words, Quaye presumably will argue that, while he was

involved in running the business at issue, he did not know that he was receiving revenue from

fraud proceeds and therefore did not know that he was participating in money laundering

transactions by receiving and sending the funds. Thus, while Quaye apparently won’t deny

substantial involvement in the businesses or that the transactions occurred, he will contend that

the government cannot prove he knew that he was laundering funds. Based on Sepetu’s

statements to law enforcement, Sepetu likely will offer a defense in which she distances herself

from involvement in the business generally and the suspect transactions specifically. To that end,

she made several statements that she could not identify customers, could not estimate sales

volume or profits, and that she is only learning the business but does not know it to be involved

in illegal activity.

        Quaye’s and Sepetu’s apparent defenses do not present a situation in which the jury

would be compelled to convict one if it acquits the other. Based on these arguments, the jury

could acquit them both. It could conclude that Sepetu was a bit player in the business and

therefore did not know that she was involved in a money laundering scheme. It could also

conclude that, while Quaye was more involved in managing the business and even receiving the

funds, he did not know that the funds were derived from fraud, and therefore he was not guilty of

money laundering. Accordingly, there is no present basis to conclude that the defendants will

offer mutually antagonistic defenses.

        Quaye says nevertheless that it is possible that one of his co-defendants will take the

stand and accuse him of having knowledge of the underlying fraud. That is possible (although



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there is nothing now but speculation to support it) but it makes no difference. Every defendant

wanting severance could make such a claim. But, as discussed above, severance is strongly

disfavored, especially in a conspiracy case such as this. Thus, fear of the unknown cannot be

enough to obtain a severance since virtually every defendant could raise that fear as a successful

basis for severance. If a co-defendant, in fact, testifies, the Court would have to evaluate that

testimony to decide if it is directly antagonistic based on the high standard recited earlier. But as

the record stands now, there is no basis for this Court to conclude that the Quaye and his co-

defendants will offer mutually antagonistic defenses. Thus, this ground for severance fails.

III.   THERE IS NO BASIS FOR SEVERANCE
       ON THE GROUNDS OF SEPETU’S STATEMENT.

       Quaye’s second basis for severance is the government’s filing in which it identified

certain statements from Sepetu which it may introduce at trial. In a couple of those statements,

Sepetu suggests that Quaye knew more about the business that she did. In support of his

argument for severance based on these statements, Quaye relies heavily on Bruton and its

progeny. But Bruton does not apply here because Sepetu’s statements are not facially

incriminatory; the statements can be generalized to remove a direct reference to Quaye; and the

Court can provide a limiting instruction telling the jury that the statements are only evidence

against Sepetu.

       As the United States Supreme Court recently recognized, generally the Sixth Amendment

Confrontation Clause is not violated by the introduction of a co-defendant’s statement so long as

the jury is instructed to consider the statement only against the co-defendant. Samia v. United

States, 599 U.S. 635, 644 (2023). Bruton is a narrow exception to this general rule.

       Bruton held that an instruction telling the jury to apply a co-defendant statement only to

the co-defendant is an inadequate protection for the defendant, under the Confrontation Clause,

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where the non-testifying co-defendant’s statement is facially incriminating toward the defendant.

For Bruton’s rule to apply, the co-defendant’s statement must be directly accusatory. Gray v.

Maryland, 523 U.S. 185, 194 (1998). “Statements that are incriminating only when linked to

other evidence in the case” do not trigger the Bruton rule as a reason for granting a severance.

United States v. Bucci, 525 F.3d 116, 127 (1st Cir. 2008).

       Here, the statements are not facially incriminating. Sepetu’s assertion that Quaye was

more involved in the business than she is not an accusation that Quaye was committing money

laundering. That connection, if it is to be made, will have to come from other evidence that

suggests Quaye’s knowledge about the source of funds. Moreover, the statements by Sepetu to

law enforcement highlighted by Quaye were not recorded. Therefore, the Court could instruct

the testifying agent not to mention Quaye’s name when describing the statements by Sepetu

about her limited involvement. Finally, the Court could (and should) instruct the jury that

Sepetu’s statements can only be used against her and cannot be considered as evidence against

Quaye. As Samia makes clear, these steps are sufficient to protect Quaye’s rights. Therefore, the

statements do not serve as the basis for a severance.

       Perhaps sensing this legal reality, Quaye shifts focus toward the end of his motion from a

Confrontation-Clause problem to a generalized claim of prejudice. But Quaye does not explain

the nature of that prejudice. Again, as Samia explains, there is a long history of a codefendant’s

statements being admitted in the defendant’s trial coincident with a limiting instruction on how

the statement could be used. If the Court followed that approach here, Quaye would not suffer

prejudice. Accordingly, this basis for severance fails too.




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IV.    CONCLUSION.

       For the reasons stated, based on the present record, the Court should deny the defendant’s

motion for a severance from the other defendants.

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